        Appellate Case: 23-1135    Document: 57    Date Filed: 09/05/2023   Page: 1



                        UNITED STATES COURT OF APPEALS
                             FOR THE TENTH CIRCUIT


  DARLENE GRIFFITH,

  Appellant/Plaintiff                              Case No. 23-1135


  v.

  El PASO COUNTY, COLORADO, et
  al.,

  Appellees/Defendants




   UNOPPOSED MOTION FOR EXTENSION OF TIME TO FILE RESPONSE
                           BRIEF
       The Office of the El Paso County Attorney as Counsel for Appellees, El Paso County

Sheriff Bill Elder, in his individual and official capacity, Cy Gillespie, Elizabeth O’Neal,

Andrew Mustapick, Dawne Elliss, Tiffany Noe, and Brande Ford respectfully move this

Court pursuant to 10th Cir. R. 27.6 for an extension of time, up to and including October

20, 2023, in which to file their response brief in the above-captioned appeal. The grounds

for this request are as follows:

       1.      The Appellees’ Response Brief is currently due on September 20, 2023.

       2.      Appellees have conferred with counsel for Appellant who does not oppose

this Motion.

                                             1
        Appellate Case: 23-1135     Document: 57     Date Filed: 09/05/2023     Page: 2

      3.     Appellees have not previously requested an extension of time in this appeal.

      4.     The Appellees require additional time to adequately brief the complex and

important issues in this case. These issues include (i) whether transgender individuals

should be considered members of a suspect class for purposes of an equal protection claim

brought under the Fourteenth Amendment and (ii) whether deliberate indifference may be

shown, for purposes of a claim for compensatory damages brought under Title II or the

Americans with Disabilities Act and the Section 504 of the Rehabilitation Act, where the

existence of the right alleged (here, gender dysphoria’s protection as a disability) is unclear.

Indeed, these issues have prompted multiple non-parties to file amicus briefs. Counsel for

Appellees thus requires additional time to research and address Appellant’s arguments.

      5.     Additionally, counsel for Appellees have other pressing litigation matters that

warrant an extension of time.

           • Lead counsel for Appellees, Nathan Whitney:

             a. Has engaged in mediation and negotiated a pre-litigation settlement of a

                 matter involving the Estate of William Johnson (approved on August 29,

                 2023); and

             b. Is drafting a reply in support of a motion to dismiss in Estate of Cristo

                 Canett v. Wellpath, LLC, et al., 23-cv-1211-DDD-MDB (D. Colo.),

                 currently due on or about September 13, 2023.

           • Co-Counsel for Appellees, Bryan Schmid:

                                               2
Appellate Case: 23-1135    Document: 57     Date Filed: 09/05/2023     Page: 3

     a. Is drafting a 12(b)(1) Motion to Dismiss in the matter of Wren v. El Paso

        County Sheriff’s Office, et al., 22-cv-02728-GPG-MDB (D. Colo.)

        involving a unique question of immunity for individually named deputies

        involved in the pursuit of a known violent felon which is expected to be

        filed on or before September 10, 2023;

     b. Will begin drafting a Motion for Summary Judgment in the matter of

        Duvall v. Sirois, et al. 20-cv-02753-DDD-MDB (D. Colo.) involving an

        issue of immunity for the individually named deputies as to the civil rights

        claims of Ms. Duvall, with a current dispositive motion deadline of

        September 7, 2023, expected to get extended until September 21, 2023;

        and

     c. Will begin drafting a Motion for Summary Judgment in the matter of Scott

        v. Hiller, et al., 21-cv-02011-NYW-KLM (D. Colo.) involving a challenge

        to the constitutionality of a state law prohibiting the posting of the personal

        information of a peace officer on the internet and whether said prohibition

        violates the Plaintiff’s First Amendment right to free speech, with a court-

        ordered deadline for cross motions of September 15, 2023.

  • Co-Counsel for Appellees, Steven Martyn:

        a. Is preparing a responsive pleading in Brian v. El Paso County Assessor,

           No. 23-cv-272 (El Paso Cnty. D. Ct.), due on September 1, 2023;

                                      3
       Appellate Case: 23-1135    Document: 57     Date Filed: 09/05/2023   Page: 4

                  b. Is finalizing a settlement agreement in Jensen v. El Paso County

                    Sheriff’s Office et. al, No. 23-cv-01605 (D. Colo.), so it can be

                    considered by the El Paso County Board of County Commissioners

                    during public session on September 12, 2023; and

                  c. Has been taking intermittent leave to care for two members of his

                    immediate family.

      For the foregoing reasons, counsel for Appellees respectfully ask the Court to grant

this Motion and allow Appellees up to and including October 20, 2023, to file their

Response Brief.

      Respectfully submitted this 5th day of September, 2023.

                                        OFFICE OF THE COUNTY ATTORNEY
                                        OF EL PASO COUNTY, COLORADO

                                  By: /s/ Nathan J. Whitney
                                      Nathan J. Whitney, Reg. No. 39002
                                      First Assistant County Attorney
                                      Bryan E. Schmid, Reg. No. 41873
                                      Senior Assistant County Attorney
                                      Steven W. Martyn, Reg. No. 47429
                                      Assistant County Attorney
                                      El Paso County Attorney’s Office
                                      200 S. Cascade Ave.
                                      Colorado Springs, CO 80903
                                      (719)520-6485 (Main Office Line)
                                      NathanWhitney@elpasoco.com
                                      BryanSchmid@elpasoco.com
                                      StevenMartyn@elpasoco.com

                                        Attorneys for Appellees

                                             4
       Appellate Case: 23-1135    Document: 57      Date Filed: 09/05/2023   Page: 5

                                 CERTIFICATE OF SERVICE

      I hereby certify that a copy of this Motion for Extension of Time was served on
September 5, 2023 via email and electronic service through PACER/ECF to the following
counsel of record for Appellee.

Killer, Lane & Newman, LLP
Andy McNulty
Mari Newman
1543 Champa Street, Suite 400
Denver, CO 80202
amcnulty@kln-law.com
mnewman@kln-law.com

Roderick & Solange MacArthur Justice Center
Meghan Palmer
Devi Rao
501 H Street NE, Suite 275
Washington, SC 20002
Meghan.Palmer@macarthurjustice.org
Devi.Rao@macarthurjustice.org

Counsel for Appellant/Plaintiff, Darlene Griffith

AMICI CURIAE

Civil Rights Education and Enforcement Center
Cynthia Louise Rice
1245 E. Colfax Avenue
Suite 400
Denver, CO 80218
crice@creeclaw.org

Disability Rights Education & Defense Fund
Maria Michelle Uzeta
3075 Adeline Street
Suite 210
Berkeley, CA 94703
muzeta@dredf.org

                                           5
       Appellate Case: 23-1135   Document: 57   Date Filed: 09/05/2023   Page: 6

Counsel for the following:
Disability Rights Education and Defense Fund
The Arc of the United States
Autistic Self Advocacy Network
Autistic Women and Nonbinary Network
The Judge David L. Bazelon Center for Mental Health Law
The Coelho Center for Disability Law, Policy and Innovation
Civil Rights Education and Enforcement Center
Disability Law Colorado
Disability Rights Advocates
Disability Rights Bar Association
Impact Fund
National Association for Rights Protection and Advocacy
National Disability Rights Network
Transgender Legal Defense & Education Fund

U.S. Department of Justice
Jonathan Backer
Tovah Calderon
Kristen Clarke
Civil Rights Appellate Sec.
Ben Franklin Station
P.O. Box 14403
MJB 3710
Washington, DC 20044-4403
Jonathan.backer@usdoj.gov
Tovah.R.Calderon@usdoj.gov

Counsel for the United States of America

American Civil Liberties Union Foundation
Harper S. Seldin
125 Broad Street
18th Floor
New York, NY 10004
hseldin@aclu.org

ACLU of Colorado
Annie Kurtz
Timothy MacDonald
                                            6
        Appellate Case: 23-1135   Document: 57     Date Filed: 09/05/2023   Page: 7

303 East 17th Avenue
Suite 350
Denver, CO 80203
akurtz@clu-co.org
tmacdonald@aclu-co.org

Counsel for the American Civil Liberties Union of Colorado

Kyle Courtneay Velte
University of Kansas School of Law
1535 West 15th Street
Lawrence, KS 66045
kvelte@ku.edu

Ezra Young
Law Office of Ezra Young
210 North Sunset Drive
Ithaca, NY 14850
Ezra@ezrayoung.com

Counsel for Jeremiah Ho, Dru Levasseur, Nancy Marcus, Dara Purvis, Eliot Tracz,
Ann Tweedy, Kyle Velte and Ezra Young

Fed. R. App. P. 25(b))                /s/ Dee Lambert
                                      Legal Office Administrator
                                      El Paso County Attorney’s Office




                                            7
